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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Dorsey Antley,                      )
                                    )
        Plaintiff,                  )
                                    )
        v.                          )            No. 10 C 1027
                                    )
AllianceOne Receivables Management, )
Inc., a Delaware corporation,       )
                                    )
        Defendant.                  )            Jury Demanded

                                      COMPLAINT

      Plaintiff, Dorsey Antley, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages for Defendant’s

violations of the FDCPA, and alleges:

                             JURISDICTION AND VENUE

      1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

      2.     Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                        PARTIES

      3.     Plaintiff, Dorsey Antley ("Antley"), is a citizen of the State of Texas, from

whom Defendant attempted to collect a delinquent consumer debt owed for a Capital

One credit card, despite the fact that she was represented by the legal aid attorneys at

the Chicago Legal Clinic's Legal Advocates for Seniors and People with Disabilities

program ("LASPD"), located in Chicago, Illinois.
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       4.     Defendant, AllianceOne Receivables Management, Inc. (“AllianceOne”), is

a Delaware corporation that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debts. AllianceOne operates a nationwide delinquent

debt collection business and attempts to collect debts from consumers in virtually every

state, including consumers in the State of Illinois.

       5.     From Defendant AllianceOne's offices in Illinois, and sixteen other states,

it operates a nationwide debt collection business, and attempts to collect delinquent

debts from consumers in virtually every state, including consumers in the State of

Illinois. See, AllianceOne’s web-site materials, attached as Group Exhibit A.

       6.     Defendant AllianceOne is licensed to conduct business in Illinois and

maintains a registered agent here, see, record from the Illinois Secretary of State

attached as Exhibit B.

       7.     Moreover, Defendant AllianceOne is licensed as a collection agency in

Illinois, see, record from the Illinois Division of Professional Regulation attached as

Exhibit C.

                                FACTUAL ALLEGATIONS

       8.     Ms. Antley is a disabled senior citizen, with limited assets and income,

who fell behind on paying her bills, including a debt she owed for a Capital One credit

card. When Defendant AllianceOne began trying to collect the Capital One debt from

Ms. Antley, she sought the assistance of legal aid attorneys at the Chicago Legal

Clinic’s LASPD program, regarding her financial difficulties and Defendant

AllianceOne’s collection actions.



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       9.     On November 21, 2009, one of Ms. Antley's attorneys at LASPD informed

AllianceOne, in writing, that Ms. Antley was represented by counsel, and directed

AllianceOne to cease contacting her and to cease all further collection activities

because Ms. Antley was forced, by her financial circumstances, to refuse to pay her

unsecured debt. Copies of this letter and fax confirmation are attached as Exhibit D.

       10.    Nonetheless, Defendant AllianceOne sent a collection letter, dated

December 15, 2009, directly to Ms. Antley, in which it continued to demand payment of

the Capital One debt. A copy of this letter is attached as Exhibit E.

       11.    Accordingly, on January 27, 2010, Ms. Antley's LASPD attorney had to

send Defendant AllianceOne another letter to cease communications and cease

collections. Copies of this letter and fax confirmation are attached as Exhibit F.

       12.    All of the collection actions complained of herein occurred within one year

of the date of this Complaint.

       13.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

       14.    Plaintiff adopts and realleges ¶¶ 1-13.

       15.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).



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      16.    Here, the letter from Ms. Antley's agent, LASPD, told Defendant

AllianceOne to cease communications and cease collections (Exhibit D). By continuing

to communicate regarding this debt and demanding payment, Defendant AllianceOne

violated § 1692c(c) of the FDCPA.

      17.    Defendant AllianceOne’s violation of § 1692c(c) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      18.    Plaintiff adopts and realleges ¶¶ 1-13.

      19.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      20.    Defendant AllianceOne knew that Ms. Antley was represented by counsel

in connection with her debts because her attorneys at LASPD had informed Defendant,

in writing (Exhibit D), that she was represented by counsel, and had directed Defendant

AllianceOne to cease directly communicating with Ms. Antley. By directly sending Ms.

Antley the collection letter (Exhibit E), despite being advised that she was represented

by counsel, Defendant AllianceOne violated § 1692c(a)(2) of the FDCPA.

      21.    Defendant AllianceOne’s violation of § 1692c(a)(2) of the FDCPA renders

it liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.



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                                  PRAYER FOR RELIEF

       Plaintiff, Dorsey Antley, prays that this Court:

       1.     Find that Defendant AllianceOne’s debt collection actions violated the

FDCPA;

       2.     Enter judgment in favor of Plaintiff Antley, and against Defendant

AllianceOne, for statutory damages, costs, and reasonable attorneys’ fees as provided

by § 1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Dorsey Antley, demands trial by jury.

                                                     Dorsey Antley,

                                                     By: /s/ David J. Philipps_______
                                                     One of Plaintiff's Attorneys

Dated: February 16, 2010

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